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                 EXHIBIT A
          Case 3:17-cv-07277-JCS Document 1-1 Filed 12/22/17 Page 2 of 37




                                                                                                                                                                  SUM·100
                                                SUMMONS                                                                              FOR COUI!T USf 011~ Y
                                                                                                                                 (SOLO PARA USO DE LA CORTE)
                                      (CITACION JUDICIAL)
    NOTICE To DEFEND ANT: CU!ANNI!T     USA, INC,, u Virglni:~ eorpor:uion; D&G
                          Entef1>risc~,INC., n Cnlifornl3 <orpuralion, dba
    (AVISO AL DEMANDADO): CI.EANNI!T OF THH Bt\ Y AREt\ ~nd CI.EANNIIT OF
    SAN JOSE; CLE1\NNET OF SOURTHERN CJ\Ut::OIU-IJA, INC., a California corpor:nion:
    PAQNET,INC.. a California corporation. dba CLEANNET OF SAN DIEGO; FCDK,INC.. n
    California corporation, dha CLEANNET OF SCAIV\MENTO; and DOES I through 25,
    !ndusive
   YOU ARE BEING SUED BY PLAINTIFF:
   (LO ESTA DEMANDANDO     DEMANDANTE):    EL
    LUIS CASTrLLO, individually and on bchulfofall                             o!hcrs    similnrly
   siiUatcd

     NOTICE! You havo bean sued. The c:ourt may decide against you without yo~r being hcmd untcs:; you respond wilhin 30 days. Read the information
     below.
        You h:we 30 CALENDAR DAYS alter this summons and legal papers ;:no served on you to me a \'Jlillen rcsponstl at thts court an<J M·,~ a copy
     SCJVcd on tho plaintiff./\ Iotter or phone call•.,ill not protect you. Your wrtllcn response must be In proper legal lorm tr yo11 want the courlto hear your
     caso. There may be a court form lhilt you c::Jn usc lor your respcmse. You can find these court fonns and more lnlotmation allhe Ca61ornia Courts
     Onlirlc Sell-Help Center (I'IIWt.courtlnfo.c;:~.gol'lselfhofp), your county taw library, or tho courthous<: nearest you. II you cannot pay the filing lee, ;~sk
    the caun clerk lor a leo waiver form. II you do not me your (espoose on Ume. you may lo~e lhe case IJy d2faull. and your wages. money. and properly
    may llo taken vlilhout further wamin!] Cram lhc c;ourt.
        There ore olher legal require'mcnls. You mnywant to c;:~IJ ;m attorney right aw:ty, II you do not know Dn :tllorncy, you m~ywanttocoll an allomey
    rolerral service. II you cannot afford an altornoy, ~'Ou may be eligible lor free legal services !rom a nonprofit legal services program. \'ou c:an locate
    these nonprofit groups at !he Calilamla Legal Services Web 5ilo (IVIVIv.falvhulpcalifomia.org), lhu Colifomia Court:; Online Sell-Help Center
    (IVwlv.courtinfo.ca.govlse/fhefp), or by contacting your loc.d court or county tmr ossoclaUon. NO'rE: The court h:~s D st:Jtutory lien lor waived fees and
    costs on any seiUernent or orbitraUon award of S10.000 or moro In o civil caso. Tho court':; 6!!n mu:>t be paid before the court will dismiss the case.
   tA VI SO/ Lo han demandado. Sino responde dcntro de 30 dias, Ia corte puedo decidir en :su conrro sin escuthar su versi6n. Le;:~ fa infonnaci6n a
   conlinuocit)n.
       Trene 30 DIAS DE CALENDARIO daspues de quo lo cnlrcguan oslo citaci6n y papmcs legale:; pam presenlar una respuesJa par escnto en esta
   carlo y hacerqua sc entroguc uno copio of demandante. Uno carto o un:> 1/omiJdO tofoldnica no to protagon. Sv tcspuasta par cscrito tk:no que astor
   en forma to toga/ cenecro si dosea quo procoson su caso on fa corto. Es po:.ible que hoya un formulario qu& usted pucda usar porn su ({!Spuella.
   PuodC! anr:onrmr csros formularios do fa corfo y rn<ls informac/()n on cl Centro do Ayud:> do las Carras do Culifornlo j\'AWJ.sucarto.ca.lJOV}. en ta
   bibtiotec:o do loyus de su condodo o en Ia corte que Ia quudo mds corea. Sino puodo pogar Ia cuoto do pro:;cmtacJon, p/du at sccrotario de Ia rorto
  quo to do un femi'.Jforio do oxoncfiln do pago do cuot;:~s. s; no prasonta su rospuasla ll tlompo, puodo pctdcr of caso por incumplimian:o yIn cone to
  podrfJ quirar 3u sue/do, dinero y bionos sin miis acfvrlrtcncia.
      Hay ctros rcquisicos liJgalcs. Es rncomendablo quo lfamr! ;;1 ttn abog;:~do inm~diaramento. Sino conocc a un ilbogado, pucdc llilmar a vn servicio de
  romlsion a nbog.1do.s. Sf no pucdo pogar o 1111 obog11do, os poslbto qua cumpla con IPs roqufsltos pnr.n obtunor sctVicios fogatos grotuilos rio un
  pmyramtl de> scuvicios legales si11 lines de lucro. Pucr!c encontrar cstos grupas sin fines de luao en cl sJti'o web de California Legal SorvicC!s,
  (.~1.w:,rawhclpcalilomia.asg). en cl Centro de Arud:J de los Corte~; do CatifoTJllu. (W\,w,sucorle.ca.gov) o ponfdndose on contar::o con fa cone o ot
  r:oi"!]IO dn nM{Jadoslnc:lios. AVISO: Por ley. 1.1 conn licna dcrocho a rcclc1mar las cuntns y los co.~/o.~ o~t:enro.q p01 imponar un gmvamen sobro
  cuorqulcr roc:uporacitin do 510.000 6 mils do volar roclbido modiofllc un ac:uonio o un:> conccsi6n do arbltrojo en un coso do.dcrccno civil. Tic no quo
  pngur el gravomcm do to corte antes de que fa corte pueda doscc/Jsr ol caso.

Tho name and address ot !he court is:                                                                         c;IS~   UUJJOER:
{EI nombre y diroccion de Ia corte es):
 <100 McAllisiCr street
                                                Civic Center Comthousc
                                                                                                             ~ctfc'~,.,, 7 -                s6 2 6 ,                  ,
 San Francisco, CA 94102
The name. address. and telephone number ol plaintiffs attorney. or plalntlti wllhoul an attorney. is:
(EI nombm, fu direcci()n y el numaro do tarorano del a bogado del demenctante,                  o rfet ciemandance que no tiene s/JOgado,              es):
 Carole Vignc:, I 80 Montgomery Street, Suite 600, San Francisco, CJ\ 94104, (415)864-8848
                                                                                                                                                              . Depuly
                                                                                                                  NEVLWEBB                                     (Adjuuto)
(For proof or sarvlce of lhis summons. use Prooi or Service or Summons (form POS-010).)
(Para prueba do cntrega de esta cltallttn use el formulerlo Proof ol Service or Summons, (POS·010)).
                                  NOTICE TO THE PERSON SERVED: You are served
 IS[IILI
                                  1. 0     as en individual defendaot.
                                  2.       c:J
                                           as lhe person sued under the fictitious name or (specify):


                                      3.   I v I en behalf of    (specify);~~'{' J'Or,m~ ~~J-lV"', 'nJc.,.,.?\eJ.tfvnW\ C-M(I)(I\+t~
                                                                                   &f
                                           under, 0     CCP 0:111.10 (corpoca!ion)                            c:::J     CCP 416.60 (minor)
                                                   0        CCP "16.20 (deluncl corporation)                  c:::J     CCP 4 16.70 (conservalee)
                                                            CGP 416.40 (association or partnership)           c:::J     CCP 416.90 (authorized person)
                                                           other (spoclfy):
                                      4.           y pc sonar delivery on (date);
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                           Case 3:17-cv-07277-JCS Document 1-1 Filed 12/22/17 Page 3 of 37




                                                                     SUMMONS
                                                        (CITACION JUDICIAL)
        NOTICE TO DEFENDANT:              <?LliANNET US,A, IN~:.,a Vit. ginia cnrp~Jr.llion; D&G
                                                      INC., a Caltfllrlllil corpuraliOn, d\Ja
                                                                 lmlc.rpnscs,
        (AVISO AL DEMAN DADO): CLEAN NET 01' THE BAY AREA and C:LEANNET OF
         SAN [OSE; CLEAN NET OF SOUil.THEIU\ CAL!I'ORNIA, INC., a California corpuralion;
         PAQNET,JNC., a C;1lii'ornia corporalinn, dba CLEANNET OF SAl\ DIEGO: FCDK, INC., a
        Californi« wrporation, dim C:LEIINNET OF SC:1\HAMENTO: and DOES I through 25,
        !ndmive
        YOU ARE BEING SUED BY PLAINTIFF:
        (LO ESTA DEMANDANDO EL DEMANDANTE):
        LUIS CASTILLO, individu<llly and un bt:lwlfof'nll other~ similmly
        situated


          ht!lnw.
              You llnvc 30 Ci\LENO/\R DAYS ilfler lhio 511mmons ilnd legal papers me served on you !o file a •millen response <J\llli5 t:uurl m1cl llo·l~ a copy
          strvod on \he plnintiff.lllollr.r or pl1011c call will no! pro10c1 you. Your wrillon rcspon50 mur.l bu in proper IC[JOI form II you wont tho coll!llo llCill your
          en so. There nmy bG o court form tlml you con usc for your response. You c:m find those court forms Gild more inform a lion i:ll the Cnlifornia Courls
         Online Self-Help Center (v.wvr.cottrlinfo.ca.go\•/scl/ilclp), your county law library, or the r;ourthousc nearest yo11. If you cannol PilY llro liling foe. a:;k
         lho court clmk for n fee wail•er form. lr you do no I me your response on lime, you may lm;u I he c<tse IJy defmrll. <Hld your wages, mon.:y. and properly
         mny be lak~n wrlhout furtl1er warning from the court,
               Tliere me other legal requirements. You rm1y wont to call ufl a!lorncy right away If you do not know on <1llorney, you m~y wanllo cnll <111 aHorney
         referral service. H you cannol alfortl <lrl allornay, you rnn)' \Je ellgillle for free legal servir.us from a nonproOI fel)<ll services prograrn. You can locale
         Umso nonprom grours nl the Cnlifornia Logal Services Well sile (•wtw.fuwlw/pca!ifomia.org), lhu C111ifornia Court!> Online Self-Help Cenler
         (www.ccwtinro.ca.gov/sc/llre/p), or IJy cont<Jcling your locnl court or county llvr assod;1lion. NOTE: The co uri hns o s\;~lulory l1un f01 waived fGes and
         co sis on any sellle111c:nt or arbiv.-.lion nward or S I 0.000 or rnoro In" civil cu!:m. The court'a lien lllll(;l bo paid boforc the cour1 will dismiss lho case.
        tAVISOI Lo /ian ,fomiJml,Hio. Sino rr:spon<!o clenlru d!J 30 dins, 1,1 cone puede deci(lir on su contm sin eSCliCIJ.1r' s11 v-er5ion" Loa/a /nfomw::ion a
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        en formato /11[/nt correclo si dase.1 que procasr:n su cDso onlo r;orlu. Es posilJio quo ltayn un lormutario que uslod puuda USilr pnw s11 I'Oo/I<IB!<Iir.
        Puoda anr.onrmr as los rormularios da 111 corte y mils informacion on cl Conrro do Ayucln de las Carlos do Callfomia (\'NNI.~Ucortc,c~.gov), onln
        t;il;/iolecn d~ loyos deo t.ll r.omiado o on Ia corfu quo lo quorlo mils corea. Sino puado fli:lf]ur lil cuolo do prosor!1.1c/6n, pida at ~ocrot.1do do/~ carlo
        quo Ia da till formula rio do oxonci6n do pngo do r.uoMs. Si 110 prosorllfl su rospuoslil n liompo, puorfo pordor 0/ GClSO por illr.umplinwmto y 1,1 coru; to
        podr,i quil.1r $tl we/rio, clir10ro y l!ionos sin mtJs ndvoriom;ill.                       "
           Hay otros r<.'rttlisitos /eyalus. Es recomoudal;lc quo 1/amc il w1 11bog,1do iwnariialanrc'fli~·. Sino conocc il wr ilbugado, ptiCdL' lli1111i.1r a !Ill so'1'icio ric
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       f.'il!Jllr ol urnvmm.m tic: Ia co1/G ontr:s clv title fil carlo pti~Chl dosr:dwr a/ coso,

    The n<1me and address                               court is:
     (Einombre                y clirocci6n do Ia      carlo      es):      Civic Center Courthouse
     tlOO tvkAIIister strcd
     Sao         Fmnci~eo,                     CA \.14102
    The name. address. and telephone number or plaintiffs attorney. or plointiff without an ol!orney, is:
    (EI nombre, Ia dirccci6n y c/ nrlmoro cia /cl6fono dol abog<Jdo dol domandanle, o del demandante que no tiene abogado, es):
     Curuk: Vignc, IRO Montgomcry                                          Stn;~(,      Suite 600, San Francisco, C/\ 94104, (415)S64-8S4S

    DArE:
    (Feci1a)
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                                                                                               (Secrelario)
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    (Para prue/Ja do entraoa de est a cilaUon use ol rormulnrio Proof or Service or Summons, (POS-070)).
                                                            NOTICE TO THE PERSON SERVED: You are served
     f$1:/•tl                                               1.     as an imiivlcluat dofcndanL
                                                            2.     ilS llle person suHd urrrler the 1lclitio11~ mnne of (specify).



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                                                                  under       [ZJ        CCP    ~1G   10 (corpowtiun)                              CCP 416.60 (rninor) C..\....ec.<..IIV\..(-\ C~f KA.t
                                                                              I ~I       CCP <~16.20 (defunct corporation;                         CCP 416.70 (conservalee)                             ·:o _            ..L~ "
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              Case 3:17-cv-07277-JCS Document 1-1 Filed 12/22/17 Page 4 of 37



                                                                                                                                                                SUM-100
                                             SUMMONS                                                                        FOR COURT USE ONLY
                                                                                                                        (SOLO PARA USO DE !.A CORTE)
                                     (CITACION JUDICIAL)
 NOTICE TO DEFENDANT:            CLEAN_NET USA, INC. •. a Vi~ginia corp?ration; D&G
   u     · AL DE'"" ... NDADQ>I Enterpnscs, INC,, a Californ1a corpora lion, db a
 (A v.180       mM         .  ,: CLEANNET OF THE BAY AREA and CLEANNET OF
  SAN JOSE; CLEANNET OF SOURTHERN CALIFORNIA, INC., a California corporation;
  PAQNET,INC., a California corporation, dba CLEANNET OF SAN DIEGO; FCDK, 1NC., a
  California corporation, dba CLEANNET OF SCARAMENTO; and DOES I through 25,
  Inclusive                   ·
 YOU ARE BEING SUED BY PLAINTIFF:
 (LO ESTA DEMANDANDO     DEMANDANT£): EL
  LUIS CASTILLO, individually and on behalf of all others similarly
 situated

   NOTICE! You have been sued. The court may deCJde against you with~l.your being hoard unless you respond within 30 days. Read the information
   below.     ·
     You have 30 CALENDAR DAYS afler this summons and legal papers are served on you to file a written response at this court and h<we a copy
   served on the plainlif(Aietleror phone call will not protect you. Yourwrilleh response most be In proper legal form If you want the court to hear your
  case. Thera may be a court form !hlll you con.use for your response. You can find these court forms and more information at !he Cafilornia Courts
   Online Self-Help Center (VNIW.COIII1/nfo.ca.gov/sclfhefp), your county law library, or tho courthouse nearest you. If you cannot pay lhe filing fee. ask
  the court Clerk for a fee waiver form. If you do not file your response on lime, you may lose ·lhe.case by default and your wages. money, and property
  may be taken without further wamlng from the court.
      There are other legal requirements. You may want to call an attorney right away. If you do not know an aUomey, you may want to call an attomey
  referral serv/ce.lf you cannot afford an allomey, you may be eligible for free legal services from a nonprofit legal services program. You can locale
  these nonprofit groups at the Califomla Legal Services Web site (www./awhe/pcafifomia.o~g), the California Courts Online Self-Help Center
  (www_cqurtinfo.ca.govls131fhe1p), or by .contacttng your local court or .county bar association. NOTE: The courtiJas a sllllulorylien for waived lees and
  cosls<ln any-settlement or.arbitraU.on .award of $10,\)00 or more in a civil case, Tho court's nenmus! be paid bofore the court will dismiss lhe case,
  JAV/501 Lo han demandado. Sino responde dentro de 30 dias, Ia corle puede decidir en .su contra .sin e.scuchar su version. Lea Ia in forme cion a
  conUm.raclan.
     Tiene 30 DIAS DE CALENDA~/0 dcspues de que /o entrcguen esta citacitm y papelos legales paro presentar una respues/a par escn/o en esta
  corte y haccr que sc en/rogue uno copio a/ dcmtmdanlc:. Una carla o una 1/amada lofcfonica no lo protcgen. Su respuesla por esc.ri/o Iiane que esurr
  en lotmato legal correcto si desea que procesen su caso en Ia corte. Es,posible qua haya un formularid que usled pUf#da usar para su respueSia.
 Puodeenconlrarestos formufarios de Ia corte y mas InformaciOn en a/ Centro duAyucla do las Cortes do Calllomia (www.sucorte.ca.gov). en Ia
 .biblioleca de lflyes de s11 condado o en 'Ia corle que /e quado mas corea. Sino puedo pagDr Ia cuolo de prosenlilclon, pida a/ sacrotario do Ia r;orte
 quo le de un forrm.Jiario de e.xencir'm de pago de cuolas. Sino prasonla su rospuesta a liempa, puedo pardor ol caso por incumplimlemo y Ia corte lo
 podra qui!ar su sue/do, dinaro y bienr::s sin. mas advarlencia.                                                                      ·
    Hay otros requisites legales. Es rocomendable que /lame a un abogado inmediatamente. Sino conoce a un abogado, pucde /lamar a un serviclo de
 rom/slon a abogados. Sl no puedo fl9gar a un obogndo, es po?Oib/a que cumpla conics requ/silos para obtenor servlcio.s legales gralul/os.da un
 pmyrama do .~arvicios legales sin fines de Iuera. Puedc encontrar t;?slos glllpos sin fines de Iuera en c/ si!io web de California Legal Services.
 ('.V'.'IW.lawhc!pcaliiornio.org), en el Ccntm de Ayude de las Cortes de Ca!ifo'!llil, (www.suc.orte.ca.gov) o paniendose en comacto con Ja cone a el
 cologlo·de abo!J;,dos /ncllJes. AVISO: Por ley, Ia carle Jlcna derecho a reclamar las r:uoras y los r:.nstos exe:nros par impanor un grm'amon sobro
 cualqiJierrocuperac.ion de .S10,0DD 6 mas de valorrcciblda mcdlante·un acuordo o una concesion da arbltra]e on un caso do dorecho civil. Tione.que
 pagar el gravamr:n de Ia corte antes .de ·que Ia carte pueda dosecbar el case.

The name and address of the court is:
(EI nombr.e y direcci¢n de Ia corte es):          Civic Center Comthousc
400 M.cAUistcr street
San Francisco, CA 94102
The name, address, and telephone number of plalntitrs attorney, orplalnliffwithout an attorney. is:
(EI nombre, Ia direccion y el numoro de te/Cfono del abogado del demendimle, o del demandante que no tiene abogado, es):
Carole Vigne, 180 Montgomery Street, Suite 600, San Froncisco, CA 94104. (415)864-8848
                                                                                                                                                              , Deputy
                                                                                                                                                               {Adjwrlo)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de enlfega de esla cilalion use el formufario Proof of Service or Summons, (POS-010)).
                                      NOTICE TO THE PERSON SERVED: You are served
 tsEfiLI                              1.   c:::::::J
                                             as an individual defendant.
                                      2.   0 as the person sued-under the fictitious name of(specify) .

                                                                                 ._. .                   l'/vr .     '·dlcPtitct.       Jtq      ew~~/dl
                                      3.   12' l       on behalf of {specify):   f'Cf)!C 1 /t\1[. 1 e. 0=I' 11r6l   t~·v            1
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                                           under.       IZJ     CCP <:15.10 (corporation)                   O       CCP 416.60 {minor)
                                                        c::J    CCP 416.20 (defunct corporation;            D       CCP 416.70 (conservatee)
                                                        0       CCP 416.40 (association or partnership)     O       CCP 416.90 (authorized person)
                                                        0      other (specify):
                                     4.    r--1        by personal delivery on {date):
                                                                                                                                                                 PM t' 1 Df 1
Forrn {.dQJ:\Cd lor Mantlalo:y ~co                                         SUMMONS                                             C~do     of CIVIl 1'1ocedutc §§ M22!,       41i~
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                      Case 3:17-cv-07277-JCS Document 1-1 Filed 12/22/17 Page 5 of 37




                                                                              SUMMONS                                                                                                          FOR COLJRT USE 0/IL Y
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                                                                  (CITACION JUDICIAL)
       NOTICE TO DEFENDANT: ~l.l:ANN~:T USA.IN~~ .•. aVi:ginia mrp?ralir>n; D&G
                                          l:nlerpnscs, INC., a Cahfornm corporntJOn, dl>a
       (AVISO AL DEMANDADO): CLEANNET OF THE BAY AHEA .md CLEAN NET OF
        SAN JOSE~ CLEANNET OF SOURTHTmN CALJFORNIJ\, INC.. a California corporation:
        Pi\Qi\'ET,JNC., a California corprmtion. dba CLEANNET OF SAN DfEGO; FCDK, INC., a
       Califnrnia wrporation, dba CLEANNET OF SCARAMENTO: and DOES J throu!(h 25,
        lndusi\•c                                                                                                                                    '
      YOU ARE BEING SUED BY PLAINTIFF:
      (LO ESTA DEMANDANDO EL DEMANDANT£):
      LUIS CASTfLLO. individually and on bchalfofalll1thers simil<lrly
      si!llatcd                                                                                                                                                         '

    r·NOTICEI You h;lVe h!illll sued. Tllft!:ourl may decide a9i1ir\si you
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    Olllinc Sclf-1-lclp Center (\Wlv:.courtinfo.co.govlscifltolp), your county law library, or lhll <:nurthnusc nc<~rc:st you. If yo" r.annol pay the !Jling fa!'. asll
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The name, address. antJ te!ephonr? number of plaintiffs attorney, or plaintiff without an attorney. is:
(EJ nombro, Ia dirocci6n y cl mimoro de to!Ofono dol abogado del demandante, o del demandante que no tiene abogado. es).
    Carole Vigne, llW Montgomery S1n.:ct, Suite (100, San Francisco, CA 94104, (4 15)864-8R4S

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                                NOTICE TO THE PERSON SERVED: You are served




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                               1.         as an indiv•clual defendant.    0
                               2.         ;;s the person sued under tlie fictilious name of {spC!cify}.


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     LEGAL AID AT WORK                                                                                                             ENDORSED
     180 Montt;omery Street, Suite 600                                                                                               FILED
    San Fmnc1sco, CA 94104
       TELEPHONENO.:          (4J5) 864-8848                       FAXNO.:     (4J5) 593-0096                          San FmnclsCO GotMfY Suporl« Ci(Wit
   moRHEYFORc.vh""l'          Plaintiff LUlS CASTILLO
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF      San FranciSCO                                                                    NOV 2 1 2017
      STR£ET ADDREss: 400 McAllister Street
         MNUNG ADDRESS:                                                                                                    CLERK OF THE COURT
         cflY ANo ZIP cooe:   San Francisco 941 02                                                                                  NEVLWEBB
                                                                                                                        .BY;...·_ _;..:.:....:.-.-~:-::-;:;;~
             !UWICHNAME:      Civic Center Courthouse                                                                                              Dllpu1y Cle1k
   CASE NAME:
   LUIS CASTJLLO v. CLEANNET U.S.A., INC., et al.
         CIVIL CASE COVER SHEET                                       Complex Case Designation                       CASENUMilltR:

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           exceeds $25.000)           $25,000 or less)             (Cal. Rules of Court, rule 3.402)                   oePT:
                                         Items 1-6 befow must be completod (see inslrucb"ons on page 2}.
 1. Check one box below for the case type that best describes this case:
     Auto Tort                                             Controe1                                          Provisionally Complex Clvlllltlnotlon
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    B         Auto (22)
              Uninsured motorist (46)
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    D     Product liability (24)                          Reul Property                                      0     Environmental!Toxic tort (30)
    D     Medical malpractice (45)                        0 Eminent domain/Inverse                           0     lnsurnnce coverage claims arising from the
    0    Olher PIIPDNVD (23)                                    colldemnatlon (14)                                 above listed proviSionally complex case
    Non·PIJPOIWD (Other) Tort                             D Wrongful eviction (JJ)                                 types (4l)

   D         Business torVunfalr business practice (07)   D Other real property (26)                         Enforc:emont of Judgment
   D         Civil rights cos>                            Unlawful Detainer                                  D     enrorcament   or judgment (20)
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   0         Olher non-PIIPDIWD tort (35)                 0      Asset forfeiture (05)
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   U         Wronglul terminaUon (36)                     0         Writ or mandate (02)
   IZJ       Olher employment ( 15)                       0 Other ludlclal mvlew 1311)
2. This case        LiJ Is       D      is not   complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
    factors requiring exceptional judicial management:
    a.   CZJ    large number of separately represented parties                        d.   0   Large number of witnesses
    b.   0      Extensive motion practice raising difficult or novel                  e.   D   Coorclination with related actions pending In one or more courts
                issues that will be time-consuming lo resolve                                  in other counties, states, or countries. or in a federal court
   c.    l2J    Substantial amount of documentary evidence                            f.   D   Substantial posljudgment judicial supervision

3. Remedies sought {checlc a/llhal apply): a.[Z] monetary b.l2] nonmonetary; declaratory or injunctive relief                                    c. [Z]punllive
4. Number of causes of action (specify):
5. This case        0is          0
                                is nol a class action suit.
6. It there are any known relaled cases. file and serve a notice of related case. (You may use form CM..()15.)
Date: November 21, 20 I 7
Carole Vi!I!!e
                                                                                  NOTICE
 " Plaintiff must file this cover sheet with the first paper filed In the action or proceeding (except small claims cases or cases filed
   under the Probate Code, Family Code, or Welfare and lnsl!lulions Code), {Cal. Rules of Court, rule 3.220.) Failure to file may result
   in sanctions.
 " File this cover sheet in addition to any cover sheel required by local court rule.
 • If this case Is complex under rule 3.400 et seq. or the Callfomia Roles of Court. you must serve a copy of this cover sheet on all
   other parties to the action or proceeding.
 • Unless this Is a collections case under rule 3.740 or a complex case. this cover sheet will be used for statlslfcal purposes onlY.
                                                                                                                                                            11•    1 o12
        Case 3:17-cv-07277-JCS Document 1-1 Filed 12/22/17 Page 7 of 37




     Monique Olivier, State Bar No. 190385
     DUCKWORTH PETERS LEBOWITZ OLIVIER LLP
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     Telephone: (415) 433-0333
3    Facsimile: (415) 449-6556
4
     Email: monique@dplolaw.com
                                                                              NOV 2 12017
5    Mana B~ari. State Bar No. 275328
     Carole Vigne, State Bar No. 251829                                   ClERK OF \HE COURT
6                                                                            NEVLWEBB               _
     Henry Hewitt, State Bar No. 40851                               BY~             [)opUty C\'lltl
7    LEGAL AID AT WORK
     I 80 Montgomery Street, Suite 600
8    San Francisco, CA 941 04
9    Telephone: (415) 864-8848
     Facsimile: (415) 593-0096
10   Emails: mbarari@legalaidatwork.org, cvigne@legalai.datwork.org, hhewitt@legalaidatwork.org

I1   Attorneys for Plaintiff and the Putative Class
12
                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
13
                           IN AND FOR THE COUNTY OF SAN FRANCISCO
14
                                      UNLIMITED JURISDICTION
15
16
     LUIS CASTILLO, individually and on behalf         c~N~QC-17-56261~
     of an others similarly situated,
                                                       CLASS ACTION COMPLAINT
17
                    Plaintiff,
J8
                                                       I. FAlLURE TO PAY MINIMUM WAGE
                                                       2. FAILURE TO PAY OVERTIME WAGES
19          "·                                         3. FAILURE TO PAY OFF-DUTY MEAL
     CLEANNET USA, INC., a Virginia                        PERIODS
20   corporation; D&G ENTERPRISES, INC., a             4. FAILURE TO PROVIDE REQUIRED REST
     California corporation, dba CLEANNET OF              PERlODS
21   THE BAY AREA and CLEANNET OF SAN                  5. FAILURE TO INDEMNifY EMPLOYEES
     JOSE; CLEANNET OF SOUTHERN                        6. VNLA WFUL DEDUCTIONS
22   CALfFORNIA, INC., a California                    7. FAlLURE TO PAY WAITING TIME
23
     corporation; PAQNET, INC.• a California               PENALTIES
     corporation, dba CLEANNET OF SAN
                                                       8. VIOLATION OF THE UNFAIR
24   DIEGO; FCDK, INC., a California
     corporation, dba CLEANNET OF                         COMPETITION LAW
     SACRAMENTO; and DOES 1 through 25,                9. VlOLATION OF THE CALIFORNIA
25                                                        TRAFFICKING VICTIMS PROTECTION
     inclusive,
26                                                        ACT

27                  Defendants.                        DEMAND FOR JURY TRIAL
28

                                                                                            Case No.:

                                       CLASS ACTION COMPLAINT
            Case 3:17-cv-07277-JCS Document 1-1 Filed 12/22/17 Page 8 of 37


          .4:)= ... ·"" ---



                Plaintiff LUIS CASTlLLO ("Plaintiff"), on behalf of himself and all others similarly

    2    situated, complains and alleges as foflows:

    3                                           INTRODUCTION

    4            I.     Pursuant to California Code of Civil Procedure section 382, Plaintiff brings this

    5    class action for wage and hour claims on behalf of himself and a proposed class of similarly

    6    situated individuals against Defendants CleanNet USA, lnc.C'CleanNet USA"), and its California
    7    Area Operators D&G Enterprises, Inc., dba CleanNct of the Bay Area and CleanNet of San Jose;

    8    CleanNet of Southern California, Inc.; PaqNet, Inc., dba CleanNet of San Diego; FCDK, Inc.,

    9    dba Clean Net of Sacramento ( ''Area Operators")). (CieanNet USA and the Area Operators are

    10   collectively referred to as "CieanNet" or "Defendants".) In addition, Plaintiff brings claims of

    ]]   labor trafficking on behalf of himself a proposed subclass of similarly situated individuals against

    12   Defendants.
                2.      CleanNet USA is a nationwide company which provides janitorial services to
    13
    14   businesses and other facilities. Under its business model, CleanNet enters into franchise

    15   agreements with Area Operators. Given the high level of governance exercised by CleanNet
         USA over Area Operators, CleanNet USA and the Area Operators are an integrated enterprise;
    16
    17   or, in the alternative, the Area Operators are ostensible agents ofCleanNet USA.
                3.      Pursuant to these CleanNet USA agreements, Area Operators then enter into
    18
         purported franchise agreements with individual workers, who perform the janitorial services.
0
    19
                4.      Plaintiff and proposed members of the class (hereafter referred to as "class
    20
         members.") are individuals who perform janitorial work for CleanNet in California. Pursuant to
    21

    22   the "franchise agreement" they sign with CleanNet, these individuals perform janitorial services

    23   for customers selected by CleanNet.

    24          5.      Though Defendants purport to denominate and treat franchise purchasers as

    25   "independent contractors," Plaintiff and putative class members are employees under California

    26
         Jaw. Status as employees exists because CleanNet controls virtually every aspect of how Plainti

    27   and putative class members provide janitorial services, inc1uding the selection of customers, the

    28   location and scope of work to be performed, the time the work is to be performed, and the pay to



                                                                                                  Case No.:
                                           CLA.SS ACTION COMPLAINT
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           be received." Accordingly, CleanNet USA and Area Operators are employer~ of Plaintiff and

 2         putative class members.

 3                6.      As employees, Plaintiff and putative class members are guaranteed the protections

 4         afforded by California's wage and hour laws, including the California Labor Code, Industrial

 5         Welfare Commission Wage Order 5 ("Wage Order 5"), General Minimwn Wage Order, and

 6         local minimum wage ordinances, including, in the case of Plaintiff, the San Francisco Minimum
 7         Wage Ordinance, codified in the San Francisco Administrative Code. However, CleanNet's

 8        scheme of selling janitorial jobs through the sale of purported franchises has allowed it to evade

 9        responsibility for the wage and hour protections to which Plaintiff and putative class members

 I0       are entitled under these laws.

 II               7.     During relevant time periods commencing at least four (4) years prior to the fiJing

 12       of this action and continuing on through the present (the "Class Period"), 1 Defendants have

 13       violated California wage and hour laws by, inter alia, misclassifying Plaintiff and putative class

 14       members as independent contractors, failing to pay the minimum wage, failing to pay overtime,

 15       failing to provide meal periods, failing to authorize and permit rest periods, failing to indemnify

16        employees for expenses, failing to pay all wages due upon separation, and making unauthorized

17        deductions from wages. These multiple wage and hour violations under California law also

18    provide the basis for a claim for unlawful business practices under California Business and

19    Professions Code § I 7200 el seq. (the Unfair Competition Law or "UCL").

20               B.      Plaintiff also brings claims on behalf of himself and a subclass, alleging that
                                                                                                     2
21    during relevant time periods commencing seven (7) years prior to the filing of this action and

22    continuing on through the present ("Subclass Period"), Defendants have violated the California

23    Trafficking Victims Protection Act ("CTVPA"). The subclass includes all class members who

24    were employed by Defendants during this time period and signed a promissory note in order to

25
      1
        Plaintiff and putative class members' claims may be longer due to equitable tolling.
26    2
       There are a number of provisions within California Civil Code section 52.5 which allows for the
27    suspension of the statute of limitations. (See Cal. Civ. Code§ 52.5 (e) (stating "the running of
      the statute of limitations may be suspended if a person entitled to sue could not have reasonably
28    discovered the cause of action due to circumstances resulting from the trafficking situation, such
      as psychological trauma, cultural and linguistic isolation, and the inability to access services.")


                                                        2                                          Case No.:
                                           CLASS ACTION COMPLAINT
        Case 3:17-cv-07277-JCS Document 1-1 Filed 12/22/17 Page 10 of 37

                                                                         c




       buy a purported franchise and provide janitorial services to Clean Net clients. The subclass claims

 2     center on the fact that CleanNet preys on vulnerable communities by targeting their advertising to
 3     Spanish- speaking persons, using high pressure sales tactics, failing to disclose material
 4     infonnalion and documents, making misrepresentations about critical tenns, promising
 5     guaranteed accounts that it does not actually provide, and guaranteeing income that unwitting

 6     "purchasers" do not actually receive. Based on misrepresentations and false promises, CleanNet
 7     sells "franchises" at an enonnous expense to Plaintiff and putative subclass members, causing
 8     Plaintiff and putative subclass members to enter into long-tenn debt arrangements with CleanNet
 9     in order to afford such purchase. After charging large sums of money in up-front payments and
 10    lending additional monies in this bait-and-switch scheme, CleanNet threatens Plaintiff and
 11    putative subclass members with huge financial penalties-including the complete loss of the
 12    franchise-if they were to withdraw from the agreement or tum down assignments. This scheme
 13    Jed Plaintiff and putative subclass members to reasonably believe that in order to avoid serious
 14    reputational, psychological and financial hann, they had no option but to remain in the
 15   arrangement and to continue working for CleanNet. At all relevant times herein, Defendants
16    participated in a venture to obtain labor or services from Plaintiff and putative subclass members
17    through unJawful means, including false pretenses and threats of financial harm. Defendants also
18    knowingly benefitted from the forced labor of Plaintiff and putative subclass members.

19            9.     Defendants' wrongful conduct as alleged herein is continuing.

20            10.    This action seeks damages on behalf of Plaintiff and the putative class and
21    subclass, declaratory and injunctive relief, restitution, and attorneys' fees and costs.
22                                     JURISDICTION AND VENUE
23            11.    This Court has jurisdiction over the claims alleged herein pursuant to California
24    Labor Code§§ 1194 and 2698 et seq., and the California Constitution, Article VI,§ 10.
25    Jurisdiction is further proper in this Court because Plaintiff resides in California, Defendants
26    regularly conduct business in California, the claims asserted by Plaintiff and putative class and
27    subclass members are governed by the laws of the State of California, and the injuries resulting
28    from Defendants' wrongful conduct were suffered in California.



                                                     3                                           Case No.:
                                         Cl,.ASS ACTION COMPLAINT
                       Case 3:17-cv-07277-JCS Document 1-1 Filed 12/22/17 Page 11 of 37



I • ~




                              12.        Venue is proper in this Court because Plaintiff resides and worked in San
             2        Franci~co     County, and the alleged hann occurred in San Francisco County. Plaintiff is informed
         3            and believes, and on that basis alleges, that many putative class members also reside in and/or
         4            worked in San Francisco County.
         5                                                            PARTIES
         6                    13.        Plaintiff is a resident of San Francisco; California. Plaintiff was employed to
         7            perform janitorial services by CleanNet in the San Francisco Bay Area between approximately
         8           August 2011, when he purchased his "franchise", and approximately 1015. Plaintiff seeks to
         9           represent a class consisting of all persons who have purchased a CleanNet franchise and have
         10          performed, or are performing, janitorial services in California on behalf of Defendants at any
         1I          time during the period from at least four years prior to the filing of the original complaint in this
         12          action through the present (the "Class Period") (the "Class''). 3
         13                  14.        Defendant CleanNet USA, Inc. ("CieanNet USA") is a Virginia corporation with
         14          its principal place of business in Columbia, Maryland. On information and belief, CleanNet
         15          USA is a suspended corporation in California.
         16                  15.        Defendant D&G Enterprises, Inc. ("D&G Enlerprises") is a California corporation
         17          and an Area Operator for CleanNet USA. On infonnation and belief, Defendant D&G
        18           Enterprises, Inc. is doing business under the fictitious business names of CJeanNet of the Bay
        19       Area and CleanNet of San Jose, with its principal place ofbusiness in Oakland, California.
        20                  l6.         Defendant CleanNet of Southern California, Inc. is a California corporation and

        21       an Area Operator for <?leanNet USA. On information and belief, Defendant CleanNet of
        22       Southern California, Inc. has its principal place of business in Santa Fe Springs, California.
        23                  17.       Defendant PaqNet, Inc. is a California corporation and an Area Operator for
        24       CleanNet USA. On information and belief, Defendant PaqNet, fnc. is doing business under the
        25       fictitious business name of CleanNet of San Diego, with its principal place of business in San
        26       Diego, California.
        27                  18.       Defendant FCDK, Inc. is a California corporation and an Area Operator for
        28
                 3
                     See n. I, infra.

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        CleanNet USA. On infonnation and belief, Defendant FCDK, lnc. is doing business under the

 2      fictitious business name CleanNet of Sacramento, with its principal place of business in Rancho

 3      Cordova, California.

 4              19.    On infonnation and belief, Defendants have been systematically and continuously

 5     doing business in California. Defendants are, and at all times relevant to this Complaint were,

 6     employers covered by the California Labor Code, Wage Order 5, the General Minimum Wage
 7     Order, and local minimum wage ordinances.

 8             20.     On information and belief, all Defendants are doing business as CleanNet, and are

 9     operating a single, integrated business of providing cleaning and janitorial services to

 I0    commercial clients throughout the State of California; Defendant CleanNet USA provides and

 11    sets the policies, fonns, contracts, and marketing practices used by the Area Operators, so, in the

 12    alternative, the Area Operators are ostensibly the agents of Defendant CleanNet USA.

 13           21.      Defendants DOES 1 through 25 are persons or entities whose true names and

 14    capacities are presently unknown to Plaintiff, who therefore sues them by such fictitious names.

 15    Plaintiff is infonned and believes, and on that basis alleges, that each ofthe factiously named

16    defendants perpetrated some or all of the wrongful acts alleged herein, is responsible in some

 17   manner for the matters alleged herein, and is jointly and severally liable to Plaintiff and members

18    of the proposed Class. Plaintiff will seek leave of court to amend this Complaint to state the true

19    names and capacities of such fictitiously named defendants when ascertained.
20            22.     At all times mentioned herein, each named defendant and each DOE defendant

21    was the agent or employee of each ofthe other defendants and was acting within the course and

22    scope of such agency or employment and/or with the knowledge, authority, ratification and
23    consent of other defendants.

24                                      FACTUAL BACKGROUND

25           A.       CleanNet's Corporate Structure and Business Model.
26           23.      CleanNet provides commercial cleaning and janitorial services to businesses
27    throughout the United States. As described herein, CleanNet purports to operate pursuant to a

28    multi-tier franchise model. CleanNet sells local franchises through a network of corporate entities



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       and fictitious business names (referred to herein as "Area Operators"). Area Operators market
 2     and sell local purported unit franchises to workers, like Plaintiff and the putative class members,
 3     who perform the cleaning and janitorial services for CleanNet's commercial customers,
 4     including offices, schools, health care facilities, banks, airports, and industrial sites.
 5             24.     Defendant CleanNet USA closely controls the Area Operators, and jointly they
 6     exert close control over Plaintiff and putative class members. Defendant CleanNet USA sets

 7     national standards and policies for franchise agreements, franchi_se fees, branding, equipment,
 8     supplies, and cleaning services for its Area Operators. Defendant CleanNet USA provides Area
 9     Operators with the standard "franchise agreements," sales materials, disclosure documents,
 10    operating manuals, periodic training, sample pricing for customer accounts, and automated
 II    scheduling and fully integrated business software.
 12           25.     CleanNet's approach and business model has been extremely profitable.
 13    According to Entrepreneur magazine, between 2010 and 2012, CleanNet was one of the top ten
 14    fastest growing franchisors in the nation; in 2015, CleanNet reported approximately 3,000
 15   franchises nationwide.
16            B.      CJeanNet Has lntentionaUy Misclassilied Plaintiff and Putative CJass
17                    Members as Independent Contractors, Rather Than Employees.

18            26.    CleanNet willfully misclassified and continues to misclassify Plaintiff and
19    putative class members as independent contractors in order to eschew their employer obligations
20    under California law.
21           27.     CleanNet implements a sophisticated arrangement that enables it to control
22    virtually every aspect of how Plaintiff and putative class members provide janitorial services to
23    its customers. The measure of control exercised by Defendants over Plaintiff and putative class
24    members goes far beyond that required to protect CleanNet's trade name, brand, and reputation.
25           28.     CleanNet determines where class members provide cleaning services, the pay
26    class members will receive, the amount of work involved, and the time when services are to be
27    provided. When class members are told to show up at a particular location, they must accept or
28    reject the offer to work at the site before entering the space to see how much work is inyolved. ff


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        a class member decides not to work at the site chosen by CleanNet, CleanNet has no obligation
 2      to replace that customer with another, thus putting further pres~ure on a class member to accept
 3     whatever site and work assignment are given.
 4             29.    CleanNet negotiates customer contracts for janitorial services and sets the price
 5     for those services. Once a customer account has been assigned to a class member, the class
 6     member is powerless to renegotiate the price or tenns. Class members cannot, for example,
 7     renegotiate tenns when it becomes clear that the per-hour pay for cleaning services is extremely
 8     low given the amount of work involved.

 9            30.     CleanNet also maintains control of and responsibility over all aspects of customer
 I0    relations, including fielding customer complaints. As a result, class members will be unaware
 11    that a complaint has been made until such infonnation is brought to their attention by CleanNet.
 12    CleanNet controls the response to any complaints, deciding whether to pennit the class member
 13    to cure its supposedly ~efective service, or whether instead to tenninate that class member's
 14   assigrunent with that customer.
 15           c.     CleanNet, in Misclassifying Plaintiff and Putative Class Members, Failed and
                     Continues to Fail to Meet Basic Labor Protections Guaranteed to aU
16                   Employees.
17
              31.    CleanNet's policy and practice of willfully and intentionally misclassifying.
18
      Plaintiff and putative class members has resulted in significant wage and hour violations.
19
              32.    CleanNet has a policy and practi1;e of determining the price for each cleaning
20
      service. Upon information and belief, CleanNet chronically underbid its cleaning contracts with ·
21
      commercial clients, making it difficult for Plaintiff and putative class members to earn the state-
22
      or where applicable, a local - minimum wage, or overtime wages, when working over eight (8)
23
      hours in a day or over forty (40) hours in a week.
24
             33.     Further, CleanNet has a policy and practice of estimating completion times for
25
      each cleaning service. Upon infonnation and belief, CleanNet uniformly underestimated and
26
      continues to underestimate the time necessary to clean. In addition, CleanNet required Plaintiff
27
      and continues to require putative class members to perform additional work demanded by
28


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       CleanNet clients, beyond the services listed in CleaflNet's boilerplate contract for its accounts,

 2     but does not pay for this work. These policies and practices together resulted and continues to

 3     result in Plaintiff and putative class members earning less than the state- or where applicable, a

 4     local -minimum wage or overtime wages, when working over eight (8) hours in a day or over
 5     forty (40) hours in a week.

 6             34.     Further, CleanNet has a policy and practice of setting the schedules of Plaintiff
 7     and putative class members. In doing so, CleanNet scheduled services with little regard for the

 8     breaks mandated by law. Accordingly, CleanNet did not provide Plaintiff and continues to not
 9     provide putative class members thirty (30) minute off-duty meal periods after working five (5)

 10    hours; in addition, CleanNet did not pennit or authorize and continues to not permit or authorize
 11    ten- minute paid rest periods for Plaintiff and putative class members, respectively, after working
 12    four (4) hours, ·or every major fraction thereof. Moreover, CleanNet has not had a policy or
 13    practice of providing Plaintiff or putative class members with the required one hour of premium
 14    pay, as a result of its failures to provide compliant meal periods or permit or authorize rest

 15   periods, as they were misclassified as independent contractors.

 16           35.     Similarly, CleanNet has a policy and practice of requiring Plaintiff and putative

17    class members to make purchases and incur work-related expenses, including, for example,

18    cleaning supplies. Further, CleanNet has a policy and practice of not reimbursing Plaintiff and

19    putative class members for these purchases and work-related expenses, by misclassifying them as
20    independent contractors- when they are, in fact, employees with no obligation to incur just
21    expenses on behalf of their employer.

22            36.     ln addition, CleanNet has a policy and practice of deducting from the earnings of
23    Plaintiff and putative class members several high monthly fees and charges, including but not
24    limited to royalty fees, management fees, and franchise fees, without authorization, by
25    misclassifying them as independent contractors- when they are, in fact, employees with f!O
26    obligation to pay fees to their employer.

27           37.     Given these many unlawful policies and practices, CleanNet has failed to pay
28    Plaintiff and separated putative class members all owed wages, including minimum and overtime



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            wages as well as missed meal and rest period premium wages, even upon termination or wilhin

 2          seventy-two (72) hours of an unnoticed resignation.

 3                 D.     CleanNet's False Promises Induced Plaintiff and Putative Class Member to
 4                        Invest in a "Franchise;" the Franchise Agreements Arc Rife with Unlawful,
                          Unfair, and Deceptive Terms; and Defendants Maintained Plaintifrs and
 5                        Trafficking Subclass Members' Labor and Sen•ices Through Threatened
                          Serious Harm.
 6
 7                 38.    Persons who invest in a CleanNet franchise are promised a long-tenn partnership

 8      with many purported benefits: operating under the name of the established janitorial brand

 9      CleanNet; being provided with a set of customer accounts; having their advertising and
 10     marketing taken care of by the enterprise; and having established back office support to handle

 II     customer invoicing, collections, and complaints. In reality, however, buying a franchise does not
 12     guarantee customer accounts or even assistance in finding new accounts. Rather, upon
 13     information and belief, CleanNet's business structure encourages Area Operators to focus their
 14    attention on selling new franchises rather than supporting existing ones. Defendants have taken

 15    full advantage of this structure by selling more franchises than they can support, and terminating
 16    class members' work assignments without cause and on false pretenses -so that they can sell

17     even more franchises to unwitting purchasers.

18     39.        Upon information and belief, through common practices in presenting information about
19     its franchises, CleanNet's representatives routinely make untrue and/or misleading statements
20     and omit infonnation about purchasing a CleanNet "franchise." For instance, at the time of
21    purchasing the purported franchise, CleanNet's representatives did not disclose to Plaintiff that it
22    cannot guarantee sufficient customer accounts to meet its obligations to aJI franchise owners. In
23    addition, CleanNet's representatives further failed to disclose that it routinely tenninates its
24    customer accounts without cause and on false pretenses. CleanNet's representatives make these
25    material misrepresentations and/or omissions knowingly and intentionally to induce individuals
26    to sign franchise contracts. Upon information and belief, putative subclass members were
27    provided with these material misrepresentations and/or omissions.

28    Ill



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               40.      Further, the written tenns of the CJeanNet franchise agreemen~s contain a number
 2      offalse assertions and guarantees, including: a certain amount of income and sufficient business
 3      to satisfy the tenns of the franchise contracts, sufficient cleaning accounts to earn a profit, and an
 4     assertion that the cost of purchasing and operating the franchise was disclosed prior to the
 5     purchase of the franchise.

 6             41.     CleanNet offers a variety of franchise packages for different prices and fees,
 7     ranging from $2,950 to $83,000, with each package guaranteeing a specified amount of monthly
 8     gross billings. Financing is available in 2- and 3-year plans, with a fixed monthly payment and
 9     interest rate. In order to secure 'a loan from Clean Net for the balance of the franchise package
 10    fee, Plaintiff and putative subclass members must sign a promissory note to CleanNet. In
 II    addition to the several high monthly fees, described above, CleanNet also charges monthly
 12    payments towards the initial purchase loan.
 13            42.     CleanNet routinely advertises in Spanish-language magazines and specifically
 14    targets low-income, monolingual Spanish-speaking, immigrant communities to induce them to
 15    buy its franchises. When targeted individuals respond to the advertisements, CleanNet's
16     representatives convince them that the cost of their large down payment will be quickly recouped
17    with profit from their Hfranchise." Despite their audience, CleanNet's representatives present the
18    franchise agreement and other documents only in English and do not actually translate word-for-
19    word the dense legal contents therein.
20            43.     For example, when Plaintiff responded to an advertisement in a Spanish-language
21    newspaper to learn more about purchasing a CleanNet franchise, he was not provided with any
22    pertinent information, or even with a Spanish translation of the franchise agreement. Instead, his
23    understanding of the CleanNet franchise agreement came exclusively from verbal representations
24    made to him in Spanish by CleanNet's representative. In purporting to translate the franchise
25    agreement, the representative promised Plaintiff that he would be guaranteed $3,000 per month
26    in earnings by the third month. Rather than explaining the dense legal content of the franchise
27    agreement, the representative made enticing promises about how much Plaintiff would earn with
28    a Clean Net franchise and reassured him that there was notlting important to worry about in the



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       agreements. Further, the representative did not identify, explain, or translate the dispute
 2     resolution provision contained in the franchise agreement. Based on the CleanNet
 3     representative's misrepresentations, Plaintiff reasonably believed the franchise would be a smart
 4     investment for himself. Such promises convinced Plaintiff and continue to convince putative
 5     subclass members to sign the CleanNet franchise purchase agreement, without ever being

 6     provided with translated versions of this complex legal document.

 7             44.    As a result of the misrepresentations, Plaintiff purchased a franchise package
 8     based on the "Initial Franchise Fee Price Schedule," which stated package levels and the cost of
 9     buying a package at that level. Plaintiff paid $8,500 of his life savings as a down payment for the
 10    franchise. For the $5,000 balance remaining to purchase the franchise, Plaintiff was required to
 1I    sign a promissory note, stating that the loan would accrue 9% annual interest and needed to be
 12    paid in monthly installments. Plaintiff's finance agreement was for $159.00 per month for 36
 13    months, starting on August I, 2011. Upon infonnation and belief, putative subclass members
 14    were induced to make similar investments of income, and have signed promissory notes
 15    requiring monthly installment payments.

16            45.     However, after over a year and a half of working long hours (and making regular
17    payments to CleanNet), Plainti.frs actual income was sporadic, and typically fell far short of the
18    monthly amount that he had been guaranteed with his franchise package. Despite earning
19    significantly less than what had been guaranteed, Plaintiff still had to pay the $159 per month
20    installments per his promissory note. Upon infonnation and belief, putative subclass members
2J    were also required to make monthly installment payments despite not receiving the income
22    guaranteed by the franchise package.

23           46.     Even when Plaintiff began earning more after the first two years of work, he was
24    still earning less than the promised amount, and significant ponions ofhis pay were withheld by
25    CleanNet in the fonns of administrative and royalty fees. Further, Plaintiff was required to work
26    significantly more hours than CleanNet's representations had led him to expect. Plaintiff was
27    given work assignments with estimated completion times that unifonnly underestimated the time
28    necessary to clean. Moreover, Plaintiff was required to perfonn additional work demanded by



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          CleanNet clients, beyond the services listed in CleanNet's boilerplate contract for its accounts,
 2        and was not paid for this work. Under infom1ation and belief, putative subclass members were
 3        also required to work significantly more hours and earn less than the income guaranteed by the
 4        franchise package.

 5                47,    Further, CleanNet regularly took away or decreased Plaintiff's accounts and work
 6       assignments, either because he was only assigned to them temporarily, or because Plaintiff
 7       declined to renew them because he was not paid for additional services rendered. CleanNet's
 8       policy is to not give more business when work is declined, regardless of the reason for declining.
 9       Instead, CleanNet demanded more money from Plaintiff to "upgrade" his package in order to
 I0      provide him with more business and earnings potential.
 II              48.     Plaintiff was repeatedly threatened by Clean Net that he could not quit or he would
 12      lose everything he had invested. In addition to losing his initial invesbnent, Plaintiff would still
 13      have significant debt to repay CleanNet. Plaintiffs reasonable fear of this serious financial hann
 I4      compelled him to continue working for CleanNet. Upon information and belief, putative
 I5      subclass members were also threatened with losing their initial investments, having significant
 16 .    debt, and other financial harm, compelling them to continue working for CleanNet.

17              49.     When Plaintiff complained about the false promises made and the terms and

18      conditions ofhis work, CleanNet told Plaintiffthat he should be careful ifhe did not want to lose
19      everything. Plaintiff understood this to be a threat regarding legal consequences if he continued
20      complruning. Upon information and belief, putative subclass members were also threatened with
2J      other legal consequences, compelling them to continue working for CleanNet.
22              E.      CleanNet USA and Jts Cal.fornia Area Operators Are a Single Integrated
23                      Enterprise and/or Are Joint Employers of Class Members.

24              50.     Plaintiffis informed and believes, and on that basis alleges, that Defendants are
25      liable to Plaintiff and class members under legal theories including but not limited to integrated
26      enterprise, joint employment, and/or ostensible agency.
27              51.     Plaintiff is informed and believes, and on that basis alleges, that Defendants have
28      operated, currently operate, and will continue to operate as a single integrated business enterprise



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            and should therefore be treated as a single employer. Though Defendants have multiple rorporate

 2          entities entity, there is but one enterprise and this enterprise has been handled such that it should

 3          respond as a whole for the acts committed by Defendants, as alleged herein.

 4                 52.     CleanNet USA e~ercises governing authority by directly supervising the Area

 5          Operators. CleanNet USA provides Area Operators with a comprehensive program which

 6      includes franchise and contract sales with automated scheduling and fully integrated business
 7      software. CleanNet USA directs how Area Operators bill clients and collect fees. CleanNel
 8      USA requires that Area Operators use standardized disclosure documents and franchise

 9      agreements, created by CleanNet USA in their California operations. CleanNet USA further

 10     offers Area Operators a program for obtaining insurance and bonding. Further, all California

 II     Area Operators are included within CleanNet USA's general company website for the purposes
 12    of marketing, corporate information, and soliciting cleaning services.

 13               53.     Alternatively, Plaintiff is infonned and believes, and on that basis alleges, that
 14    each Area Operator functioned as a joint employer with CleanNet USA of Plaintiff and class

 15    members. CleanNet USA and its Area Operators are ''employers" under the Wage Order 5 and

 16    California law because they either directly or indirectly exercise e<>ntrol over the wages, hours, or

 17    working conditions of the workers who perfonn janitorial services for them. Specifically,
                                          /
18     Clean Net USA and the Area Operator possessed and exercised the right to control the details of
19     Plaintiff and the class members' work, and dictated to them when and where to do the work,
20     which type of supplies were required for the work, the type of training required to do to the work,
21    the design and administration of such training, what sequence to follow when performing the
22    work, and which tools or equipment to use.

23                54.    Further, Area Operators and CleanNet USA additionally function as joint
24    employers under a theory of ostensible agency. In particular, as a direct result of CleanNet USA's
25    business practices, Plaintiff and class members reasonably believed that the Area Operators were
26    agents ofCieanNet USA, and that they were agreeing to work for CleanNet USA.

27               55.     Defendants' conduct as alleged herein is continuing.
28    Ill



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4                                         CLASS ACTION ALLEGATIONS

               56.      Pursuant to California Code of Civil Procedure section 382, Plaintiff brings this
5
6    action on behalf of himself and a class of similarly situated individuals. The proposed class (the
7    "Class" or "class members") that Plaintiff seeks to represent is defined as:

8              All persons who nave purchased a CleanNet franchise and nave performed janitorial work
9
               on behalf of Defendants within the State of California at any time during the period from
10
               at least four years prior to the filing of the original complaint in this action through the
11                                            4
               date of class certification.
12
13             57.      Plaintiff also seeks to certify a proposed subclass (hereinafter the "Subclass" or

14   "subclass members'') defined as:

15
               All class melf!bers who have purchased a CleanNet, who signed a promissory note with
16
               Defendants in order to purchase such franchise and have performed janitorial work on
17
               behalf of Defendants within the State of California at any time during the period from
18
               seven years prior to the filing of the original complaint in this action through the date of
19                                    5
               class certification.
20

21             58.      Plaintiff's claims are brought and may properly be maintained as a class action

22   under California Code of Civil Procedure section 382, because there is a well-defined community

23   of interest among the Class and Subclass with respect to the ciaims asserted herein and the

24   proposed Class is easily ascertainable.

25             59.      Plaintiff is unable to state the precise number of members of the Class because

26   that information is in· the sole possessions of Defendants. Plaintiff estimates that the Class

27
     4
28       See, n.l, infra.
     5
         See, n.2, infra.

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      consists of hundreds of individuals and that the number of members is so numerous that joinder

2     of all members would be impracticable. Plaintiff further estimates that the Subclass consists of

3     dozens of members. The names and addresses of class and subclass members are available from

4     Defendants. Notice can be provided to the class and subclass members via first class mail using

5     tectmiques and a fonn of notice similar to those customarily used in class action lawsuits of this

6     nature.
7               60.        Commonalit)!. There is a community of interest among class and subclass

8     members. This action presents common factual and legal questions because each class member

9     has suffered the same injury, i.e., the denial of his/her rights under California's wage and hour

10    Jaws as set forth in the California Labor Code and Wage Order 5. More specifically, the

II    questions of law and fact common to the Class or Subclass include, without limitation:
12                    a.   Whether Defendants have had a policy and practice of unlawfully misclassifying

13                         Plaintiff and putative class members as independent contractors rather than
14                         employees in order to avoid compliance with various provisions of the California

J5                         Labor Code and Wage Order 5;
                      b.   Whether Defendants have violated California wage and hour laws by:
16
17                             1.   failing to pay the minimum wage,

18                            ii. failing to pay overtime compensation,

.19                          iii. failing to provide off-duty meal periods,

20                            iv. failing to permit rest periods,

21                            v. failing to reimburse for necessary expenses,
                              vt. making unauthorized, and otherwise unlawful, deductions from wages,
22
23                                  and

24                           vii.   failing to pay all wages due upor separation;
                      c.   Whether Defendants' practices are unlawful, fraudulent, and/or unfair in violation
25
                           of California's Unfair Competition Law ("UCL"), Cal. Bus. & Prof. Code§
26
27                         17200, et seq.; and

28


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                       d. Whether Defendants' acts were intended to deprive the personal liberty of

 2                     Plaintiff and putative subclass members with the intent to obtain and maintain forced

 3                     labor through coercion, within the meaning of California Penal Code section 236.1.

 4     Ill
 5               6J.      Typicality. The claims of the Plaintiff are typical of the claims of class and

 6     subclass members. Plaintiff, class, and subclass members have suffered the same injury, i.e., the
 7     denial of his/her rights under California's wage and hour laws as set forth in the California Labor
 8     Code and Wage Order 5 and trafficking protections as set forth in the California Civil Code,
 9     respectively. The application and enforcement of the applicable wage and hour or anti-
 10    trafficking laws is no I unique to Plaintiff, and the Plaintiff's claims are not subject to unique

 II    defenses.

 12              62.     Adequacy. Plaintiff will fairly and adequately represent and protect the interest of
 13    the Class and Subclass. Plaintiff has no conflicts ofinterest with class members or subclass
 14    members, will prosecute the case vigorously on behalf of the Class and Subclass, and has already
 15    devoted time and resources     to the initial investigation of these claims.   Plaintiff's counsel are
 16    competent and experienced in litigating employment actions, including wage and hour class

17    actions.
18            63.        Superiority of Class Action. A class action is superior to other methods for the fair
19    and efficient adjudication of the damage claims alleged herein. Common questions oflaw and
20    fact predominate over any questions affecting only individual class members. Each class and
21    subclass member has suffered injury and is entitled to recover. Because common factual and
22    legal issues predominate, class action treatment will allow those similarly situated to litigate their
23    claims in the manner that is most efficient and economical for the parties and the judicial system.
24    ln addition, because the economic damages suffered by individual class and subclass members
25    may be relatively modest, albeit significant, compared to the expense and burden of individual
26    litigation, it would be impracticable for each class' and subclass member to seek redress
27    individually. Moreover separate actio.ns would run the risk of inconsistent judgments. Finally,
28    there will be no undue difficulty in the management of this class action litigation.



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           Ill
     2     Ill
  3        Ill

 4         Ill

 5                                              FIRST CAUSE OF ACTION
 6           (Failure to Pay Minimum Wage for AU Hours Worked in Violation of California Labor
 7             Code§§ 1182.11-1182.13, 1194(a), 1194.2, 1197 and Wage Order 5-2001 by Plaintiff,
                         individually and on behalf of the Class, Against All Defendants)
 8
                 64. Plaintiff individually, and on behalf of the Class, incorporates by reference as though
 9
          fully set forth herein the preceding paragraphs of this Complaint.
 10
                 65. plaintiff and Class Members' Status as Employees. The term "employee" is defined in
 II
          California Labor Code § 350 as a "person ... rendering actual service in any business for an
 12
          employer." The term "employee" is defined in section 2 of Wage Order 5 as a person who is
 13
          "engage[d), suffer[ed], or permit{ ted] to work" by an employer. Plaintiff and all members of the
 14
          Class are or were employees ofCfeanNet for whlch they performed services within these
 15
          definitions. At all material times herein, CleanNet, including CleanNet USA and each applicable
 16
          Area Operator, has acted as Plaintiff and class members' "employers" and are or were
 17
         "employing" them.
18
             66. CleanNet's Status as Employers. Section 2 of Wage Order 5 defines "employer" as any
19
         person who "directly or indirectly, or thorough an agent or any other person, employs or
20
         exercises control over the wages, hours, or working conditions of any person." California Labor
21
         Code § 350 defines "employing" as "hiring, or in any way contracting for, the services of an
22
         employee." At all material times herein, CleanNet, including CleanNet USA and each applicable
23
         Area Operator, has met these definitions with respect to those workers who performed services
24
         for them.
25
            67. The California Labor Code, Wage Order 5, and.General Minimum Wage Order applied to
26
         Plaintiff's and class members' employment with Defendants at all times relevant herein.
27
         Cali fomia Labor Code §§ I 194, 1182. 11 - I I 82.13, and I 197, Wage Order 5, and the General
28


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       Minimum Wage Order require employers to pay at least the minimum wage for all hours worked,

 2     in an amount set by state or local law.
 3        68. The General Minimum Wage Order was in full force and effect at all times relevant to
 4     this Complaint and required that Defendants pay Plaintiffs and class members the state minimum

 5     wage for each hour worked at the rate of $8.00 per hour through July I, 2014, when it increased

 6     to $9.00 per hour; $10.00 per hour, beginning January l, 2016, and finally $10.50 per hour,
 7     beginningJanuary J, 2017.

 8            69.     At all times relevant to this Complaint, many class members were additionally
 9     covered by local minimum wage ordinances requiring a higher minimum hourly wage than that

 I0    set out in the General Minimum Wage Order. For instance, Plaintiff was covered by the San
 11    Francisco minimum wage ordinance, codified in' the San Francisco Administrative Code Chapter
 12    12R, which provided for a minimum wage of $9.92 per hour in 20 II, $10.24 per hour in 2012,
 13   $10.55 per hour in 2013, $10.74 per hour in 2014, $11.05 per hour in 2015, until May I, 2015,
 14   when it increased to $12.25 per hour.

 15           70.     Further, many local minimum wage ordinances provide for penalties when

 16   employees ar~ paid below the minimum wage.

 17           71.    During the Class· Period, Defendants have had a policy and practice of willfully

18    and intentionally misclassifying class members as independent contractors, and have failed to pa
19    Plaintiff and members of the Class applicable minimum wages for.all of the their hours worked.

20           72.     Accordingly, Plaintiff and class members are entitled to recover the unpaid
21    balance of the full amount of those minimum wages based on the highest applicable minimum
22    wage, including interest thereon, reasonable anorneys' fees, costs, civil penalties, and liquidated
23    damages. Cal. Labor Code§§ 1194, I l 94.2, and 1197.1.

24
                                      SECOND CAUSE OF ACTION
25
            (Failure to Pay Overtime Wages in Violation of California Labor Code§§ 510, 1194,
26    1198 and Wage Order S-2001 by Plaintiff, lndividuaUy and on behalf of the Class, against
27                                       All Defendants)

28


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                73.        Plaintiff re-a lieges and incorporates by reference each and every allegation

 2      contained in the preceding paragraphs as if fully set forth herein.

 3              74.        As alleged herein, Plaintiff and the class members are past or present employees
 4     of Defendants.

 5              75.        California Labor Code§§ 510 and 1198, and Wage Order 5 provide that

 6     employees in the janitorial industry must receive: "(a) One and one-half(l !tS) times [their]
 7     regular rate of pay for all hours worked in excess of eight (8) hours up to an including twelve
 8     (12) hours in any workday, and for the first eight (8) hours worked on the seventh (7th)
 9     consecutive day of work in a workweek; and (b) Double [their] regular rate of pay for all hours
 10    worked in excess of I 2 hours in any workday and for all hours worked in excess of eight (8)
 II    hours on the seventh (7th) consecutive day of work in a workweek.': Wage Order 5

 12    ~(3 )(A)(! )(B).

 13            76.        As a result of Defendants' misclassification of Plaintiff and members of the Class

 14    as independent contractors rather than as employees, Defendants have failed to provide Plaintiff

 i5   and class members with overtime and other compensation in amounts to be determined at trial.

 16   Accordingly, Plaintiff and Class members are entitled to recover such amounts, plus interest

17    thereon, and reasonable attorneys' fees and costs. Cal. Labor Code § I I 94.

18                                          THIRD CAUSE OF ACTION
19
       (Failure to Provide Off-Duty Meal Periods in Violation of California Labor Code§ 226.7,
20      512, and 558.1, and Wage Order 5, by Plaintiff, individually and on behalf of the Class,
                                      against All Defendants)
21
22            77.         Plaintiff individually, and on behalf of the Class, incorporates by reference as
23    though fully set forth herein the preceding paragraphs of this Complaint.

24            78.     As alleged herein, Plaintiff and class members are past or present employees of
25    Defendants.

26            79.     Labor Code§ 512 and Wage Order 5 § IO(A) require that an employer provide a
27    meal period of at least 30 minutes in which each employee is relieved of all duty for every five
28    (5) hours worked. Wage Order 5 § IO(B) requires that an employer must provide a second meal



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        period relieved of all duty of no fewer than 30   minu~es   for all work days on which an employee
  2     works more than ten ( 10) hours.

  3            80.      Labor Code §§ 226.7 and 512 and Wage Order 5 § 1O(F) provide that an
 4      employee shall receive a premium of one hour pay for each day worked in which his or her
 5      employer did not provide the meal period(s) required by Labor Code § 512 and Wage Order 5 §
 6      IO(A), (B).
 7             81.     During the Class Period, Defendants have had a policy and practice of failing to
 8     provide required meal periods. In particular, Defendants set class members' schedules for
 9     cleaning assignments such that taking a 30-minute uninterrupted meal period was not generally
 10    possible. As a result ofDefendants' failure to provide Plaintiff and class members with
 11    compliant meal periods, Plaintiff and class members are entitled to one hour of additional pay at
 12    the regular rate of compensation for each workday that the compliant meal periods were not
 13    provided, attorneys' fees, and interest, pursuant to Labor Code §§ 226. 7(b), 218.5, and 5 I 2; and
 14    Wage Order 5 § 10.
 15
                                       FOURTH CAUSE OF ACTION
 16
         _(Failure to Authorize and Permit Rest Periods in Violation of California Labor Code§
 17     218.5, 226.1, and 558.1, and Wage OrderS, by Plaintiff, individually and on behalf of the
                                      Class, against All Defendants)
 18
19            82.     Plaintiff individuaJ ly, and on behalf of the Class, incorporates by reference as
20    though fully set forth herein the preceding paragraphs ofthis Complaint.
21            83.     As alleged herein, Plaintiff and class members are past or present employees of
22    Defendants.
23            84.     Pursuant to Wage Order 5 §    J2, "[e]mployees are entitled to   10 minutes rest for
24    shifts from three and one-ha1fto six h?urs in length, 20 minutes for shifts of more than six hours
25    up to I 0 hours, 30 minutes for shifts of more than J 0 hours up to 14 hours, and so on." Brinker
26    Restaurant Corp. v. Superior Court (2012) 53 Cal. 4th 1004, l 029 (citing Wage Order 5).
27           85.      Labor Code § 226. 7(b) states: "If an employer fails to provide an employee a meal
28    period or rest period in accordance with an applicable order of the Industrial Welfare



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        Commission, the employer shall pay the employee one additional hour of pay at the employee's
 2      regular rate of compensation for each work day that the meal or rest period is not provided."

 3             86.     During the Class Period, Defendants have had a policy and practice of failing to
 4     permit and authorize Plaintiffs and class members from taking required rest periods. In particular,
 5     Defendants did not authorize or permit rest periods, and further set class members' schedules for
 6     cleaning assignments such that taking off duty rest periods was not generaJiy possible.
 7     Defendants scheduled class members' assignments so tightly that it was never possible to take
 8     breaks while working.
 9             87.     As result of Defendants' failure to permit and authorize Plaintiff and class
 I0    members to take required rest periods, Defendants are liable to Plaintiff and class members for
 II    one hour of additional pay at the regular rate of compensation for each workday that the required
 12 , rest periods were not provided, attorneys' fees, penalties, and interest, pursuant to Labor Code §§
 13    226. 7(b), 21 8.5, and Wage Order 5.
 14                                      FIFTH CAUSE OF ACTION
 15
         (Failure to Indemnify Employees for Expenses in Violation of California Labor Code§
 16         2802 by Plaintiff, individually and on behalf of the Class, against AU Defendants)

17            88.     Plaintiff individually, and on behalf of the Class, incorporates by reference as
18    though fully set forth herein the preceding paragraphs of this Complaint.
19            89.     As alleged herein, Plaintiff and class members are past or present employees of
20    Defendants.
21            90.     California Labor Code§ 2802 provides that: "An employer shall indemnify his or
22    her employee for all necessary expenditures or losses incurred by the employee in direct
23    consequence of the discharge of his or her duties, or of his or her obedience to the directions of
24    the employer, even though unlawful, unless the employee, at the time of obeying the directions,
25    believed them to be unlawful .... For purposes of this section, the tenn 'necessary expenditures or
26    losses' shall include all reasonable costs, including, but not limited to, attorneys' fees incurred by
27    the employee enforcing the rights granted by this section." This provision of the California
28


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                       =

        Labor Code imposes strict limitations on an employer's ability to offset the costs of business by
 2      imposing financial obligations on employees as a condition of discharging their duties.

 3              91.    Defendants have required Plaintiff and members of the Class to make purchases
 4     and incur work-related expenses without reimbursement. Defendants continue to impose this
 5     requirement.
 6     Ill
 7     ///

 8             92.     Plaintiff and members of the Class are therefore are entitled to recover all actual
 9     and statutory damages and penalties applicable to these expenses, as well as reasonable costs of
 10    suit and attome)'S' fees, in amounts to be proven at trial.
 II                                       SIXTH CAUSE OF ACTION
 12    (Unlawful Deductions from Wages in Violation of California Labor Code § 221 by Plaintiff,
 13                individuaUy and on behalf of the Class, against All Defendants)

 14            93.    Plaintiff individually, and on behalf of the Class, incorporates by reference as
 15    though fully set forth herein the preceding paragraphs of this Complaint.
 16           94.     As alleged herein, Plaintiff and class members are employees of Defendants.
17            95.     California Labor Code §_221 provides that: "It shall be unlawful for any employer
18    to collect or receive from an employee any part of wages theretofore paid by said employer to
19    said employee." This statute and other provisions of the California Labor and Civil Codes impose
20    strict limitations on an employer's right to withhold or deduct unauthorized amounts from
21    employees' wages.
22            96.     Defendants have made unauthorized and otherwise unlawful deductions from the
23    wages of Plaintiff and members of the Class, including, but not limited to excessive and unfair
24    royalty fees, management fees, franchise fees, and other miscellaneous fees.
25            97.     Accordingly, Plaintiff and members of the Class are entitled to recover all actual
26    and statutory damages available for these violations, as well as reasonable costs of suit and
27    attorneys' fees, in amounts to be proven at trial.
28                                    SEVENTH CAUSE OF ACTION


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               (Waiting Time Penalties in Accordance with California Labor Code§§ 201-203 by
                  Plaintiff, Individually and on behalf of the Class, Against AU Defendants)
 2
                 98.      Plaintiff individually, and on behalf of the Class, incorporates by reference as
 3
       though fully set forth herein the preceding paragraphs of this Complaint.
 4
                 99.      As alleged herein, Plaintiff and class members are past or present employees of
 5
       Defendants.
 6
       Ill
 7
                 I 00.    Labor Code §§ 20 I and 202 require Defendants to pay their employees all wages
 8
       due immediately at the time of discharge, or immediately at the time of quitting where 72 hours-
 9
       notice has been provided; or within 72 hours of resignation made without 72 hours-notice.
 10
                I 01.     Labor Code § 203 provides that if an employer willfully fails to pay compensation
 II
       promptly upon separation, as required by§§ 201 or 202, then the employer is liable for waiting
 12
       time penalties in the fonn of one day of wages for up to 30 days.
 13
                I 02.     Defendants have failed to pay all earned wages to Plaintiff and class members
 14
      during their employment with Defendants. In addition, during the Class Period, Defendants have
 IS
      not paid earned wages to Plaintiff and class members upon separation from employment, in
 16
      violation of Labor Code §§ 20 I and 202. Defendants' conduct in this regard has been willful.
 17
                I 03.    As a consequence of Defendants' willful failure to pay wages due to each such
18
      employee following separation from employment as required by Labor Code§§ 201 and 202,
19
      Plaintiff and class members whose employment has ended during the Class Period are entitled to
20
      recover from Defendants an additional sum as a penalty, pursuant to Labor Code§ 203, equal to
21
      a day's wages, for thirty (30) days, plus intere~t, for each employee who separated from
22
      employment with Defendants, in amounts according lQ proof at trial, attorneys' fees, and costs.
23
24                                        EIGHTH CAUSE OF ACTION

25     (Unfair Competition in Violation of California Business and Professions Code § 17200 et
          seq. by Plaintiff, individually and on Behalf of the Class, against All Defendants)
26
               I 04.     Plaintiff individually, and on behalf of the Class, incorporates by reference as
27
      though fully set forth herein the preceding paragraphs of this Complaint.
28



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                I05.     The California Unfair Competition Law, Cal. Bus. & Prof Code§ 17200 et seq.
 2     ("UCL"), defines unfair competition to include any "unlawful," "unfair," or ''fraudulent"
 3     business act or practice. Cal. Bus. & Prof. Code § 17200.
 4              106.     Defendants' conduct as described above constitutes unlawful business practices
 5     because the conduct violated, and continues to violate, various sections of the California Labor
 6     Code, including but not limited to §§ 20 J and 202 (requiring payment of all wages due upon
 7     termination of employment), 204 (requiring timely bimonthly payment of wages), 221
 8    (prohibiting unlawful, unauthorized deductions from wages), 226 (requiring provision of
 9    accurate itemized wage statements), 226.8 (prohibiting the misclassification of employees as
 I0   independent contractors), 450 (prohibiting forced patronage of employer), 510 (requiring
 II   payment of premium pay for all overtime hours worked), 1174 (requiring maintenance of
 12   employee payroll, pay rate, and hours worked records), 1182. I 1-1182.13 and 1197 (requiring
 13   payment of state minimum wage for all hours worked), 1198 (prohibiting employment under
 14   substandard conditions), 2802 (requir:ing employer to indemnify employees for all expenses
 15   incurred in discharge of duties), and 2810 (prohibiting insufficient contracts for provision of
 16   janitorial services).
 17           107.     Defendants' conduct as described above constitutes unfair business practices. In
18    particular, Defendants regularly engaged in at least the following unfair practices:
19                a. Inducing Plaintiff and members of the Class to sign illusory franchise contracts
20                     and pay valuable consideration, by using high pressure sales tactics, foiling to
21                     disclose material information and documents, making misrepresentations about
22                     critical terms of the contract and targeting vulnerable populations, such as non-
23                     English-speaking immigrants;
24                b. Offering contracts to Plaintiff and members of the Class that are filled with
25                     unconscionable terms;
26               c.    Failing to provide or make available translations of the franchise contracts or
27                     related documents in the languages in which they are marketed and sold to
28                     Plaintiff and members of the Class (see California Civil Code§ 1632);



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                d. Using a variety oftactics to keep Plaintiff and members ofthe Class from leaving
                     their employment with Defendants and fo~cing them to continue to pay fees,
2
                     systemically underbidding cleaning accounts, charging excessive and unwarranted
3
4                    fees,deducting these fees from the income generated by Plaintiff and Class

5                    members, providing inadequate infonnation about the nature of the cleaning

6                    services required at its cleaning accounts, taking accounts from Plaintiff and Class

7                    members without notice or justification, and failing to provide enough cleaning
                     accounts to meet the monthly income guarantees in the franchise contracts;
8
                e. Misclassirying Plaintiff and members of the Class as independent contractors
9
                     (non-employees) and misrepresenting and concealing from Plaintiff and members
IO
                     of the Class their status as employees, in violation of California Labor Code§
II
12                   226.8;
                f.   Failing to pay Plaintiff and members of the Class the wages required by law when
13
                     due, including but not limited to minimum wages and overtime compensation, and
14
                     other wages and protections, all in violation of California Labor Code§§ 201,
15
16                   202,204,510, 1197, and 1198, and Wage Order 5;
                g. Requiring Plaintiff and members of the Class to make purchases and failing to
17
                     reimburse them for expenses incurred in the course of discharging their duties, in
18
19                   violation of California Labor Code §§ 450 and 2802; and
                h. Knowingly contracting for janitorial services at prices too low to permit
20
                     compliance with minimum labor standards and thus depriving Plaintiff and
21
                     members of the Class of the wages, benefits, and protections to which they were
22
23                   entitled by law in violation of Labor Code § 2810.
             I08.    Defendants' conduct as described above further constitutes fraudulent business
24
25   practices. ln particular, Defendants induced Plaintiff and other class members to purchase local
26   franchises, and sign franchise agreements, through false representations.

27
28


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                I09.    As a result of Defendants' unlawful, unfair, ·and fraudulent business practices,
 2      Plaintiff and members of the Class have suffered injury in fact and have lost money and
 3      property, including, but not limited to lost wages and benefits as alleged herein.
 4              110.    Pursuant to California Business and Professions Code § 17203, Plaintiff and Class
 5      members seek declaratol)',and injunctive relief, disgorgement, restitution of lost wages, and other
 6      monies lost as a result of Defendants unlawful and unfair business practices, a declaration that
 7      Defendants' practice are unlawful and unfair, and an injunction prohibiting Defendants from
 8      continuing these practices.
 9     Ill

 1.0            Ill.   Pursuant to California Code of Civil. Procedure§ 1021.5, Plaintiff and members
 II    of tile Class are entitled to recover reasonable anorneys' fees, costs, and expenses incurred in
 12    bringing this action.
 13                                       NINTH CAUSE OF ACTION
 14      (Violation of the California Trafficking Victims Protection Act, Cal. Civ. Code § 52.5, by
 15              Plaintiff, individually and on Behalf of the Subclass, against Defendants)

 16            I 12.   Plaintiff individually, and on behalf of the Subclass, incorporates by reference as
17     though fully set forth herein the preceding paragraphs of this Complaint.
18             113,    The California Trafficking Victims Protection Act, codified at
19     Cal. Civ. Code § 52.5, provides, inter alia, that:
20            (a) "A victim of human trafficking, as defined in Section 236.1 of the Penal Code, may
21                bring a civil action for actual damages, compensatory damages, punitive damages,
22                injunctive relief, any combination of those, or any other appropriate relief. A
23                prevailing plaintiff may also be awarded attorney's fees and costs."
24            (b) "In addition to the remedies specified herein, in any action under subdivision (a), the
25                plaintiff may be awarded up to three times his or her actual damages or ten thousand
26                dollars ($1 0,000), whichever is !,'Teater. In addition, punitive damages may also be
27                award~d   upon proof of the defendant's malice, oppression, fraud, or duress in
28                committing the act of human trafficking."


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                I I4.      Cal. Penal Code § 236. I (a) provides: "Any person who deprives or violates the

 2     personal liberty of another with the intent to obtain forced labor or services, is guilty of human
 3     trafficking ... "

 4             I 15.       Cal. Penal Code§ 236.1 also provides in relevant part:

 5             (g) "The Legislature finds that the definition of human trafficking in this section is

 6             equivalent to the federal definition of a severe form of trafficking found in Section
 7             71 02(8) of Title 22 of the United States Code."

 8             (h) For purposes of this chapter, the following definitions apply:
 9    Ill

 I0                      ( l) "Coercion" includes any scheme, plan, or pattern intended to cause a person to
 II                      believe that failure to perform an act would result in serious hann to or physical

 I2                      restraint against any person; the abuse or threatened abuse of the legal process;
 13                      debt bondage; or providing and facilitating the possession of any controlled

 14                     substance to a person with the intent to impair the person's judgment."
 15                     (3) "Deprivation or violation of the personal liberty of another" includes

16                      substantial and sustained restriction of another's liberty accomplished through

17                      force, fear, fraud, deceit, coercion, violence, duress, menace, or threat of unlawful

18                      injury to the victim or to another person, under circumstances where the person

19                      receiving or apprehending the threat reasonably believes that it is likely that the
20                      person making the threat would carry it out."
21                      (4) "Duress" includes a direct or implied threat offorce, violence, danger,

22                      hardship, or retribution sufficient to cause a rea.sonable person to acquiesce in or
23                      perfonn an act which he or she would otherwise not have submitted to or

24                      perfonned .... "
25                      (5) "Forced labor or .services" means labor or services that are performed or
26                      provided by a person and are obtained or maintained through force, fraud, duress,
27                      or coercion, or equivalent conduct that would reasonably overbear the will of the

28                      person."



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                          (8) "Serious hann" includes any hann, whether physical or nonphysical, including

 2                        psychological, financial, or reputational hann, that is sufficiently serious, under all
 3                        the surrounding circumstances, to compel a reasonable person of the same
 4                        background and in the same circumstances to perform or to continue performing
 5                        labor, services, or commercial sexual acts in order to avoid incurring that harm."

 6                116. Section 71 02(9) of Title 22 of the United States Code defines "severe forms of
 7     trafficking in persons" as "the recruitment, harboring, transportation, provision, or obtaining of a
 8     person for labor of services,    ~hrough   the use of force, fraud, or coercion for the purpose of
 9     subjection     to involuntary servitude, peonage, debt bondage, or slavery.
 10               117. Plaintiffs and putative subclass members were coerced to perform labor and
 11    services for Defendants by means of:
 12                   a. serious psychological, financial, or reputational harm and threats of serious
 13                      psychological, financial, or reputalional hann; and/or
 14                  b. the abuse and threatened abuse of law or legal process to Plaintiff and the putative
 15                      subclass members; and
16                   c. a scheme, plan, pattern, and uniform policy intended to cause Plaintiff and the
17                       putative subclass members to believe that, if they did not perform such labor, that

18                       they would suffer serious psychological, financial, or reputational harm.

19            118.       Defendants reduced their labor costs and expenses, and increased their profits,
20    through their fraudulent scheme to coerce Plaintiff and putative subclass members to labor on

21    their behalf.
22            I 19.      Defendants knowingly and financially benefitted from participation in a venture,
23    plan, scheme, pattern of conduct, and practice Defendants knew, or should have known, were
24    unlawful and in violation California force.d labor laws pursuant to Col. Civ. Code§ 52.5.
25            120.      Accordingly, Plaintiff and the subclass members respectfully request that the
26    Court issue declaratory relief declaring Defendants' practice(s) involving coercing Plaintiff and
27    subclass members to perfonn labor and services under threat of serious harm to be illegal and
28    unlawful.



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                 121.     Plaintiff and the subclass members have suffered damages in an amount to be
 2    detennined at trial. Plaintiff and the subclass members request the Court enter an order pursuant
 3    to Cal. Civ. Code§ 52.5 awarding Plaintiff and the subclass members compensatory and punitive
 4    damages.
 5            122.       Plaintiff and the putative subclass ":~embers request the Court enter an order
 6    pursuant to Cal. Civ. Code§ 52.5 awarding Plaintiff and the putative subclass members
 7    mandatory restitution. Plaintiff and the putative subclass members are entitled to recover their

 8    reasonable attorneys' fees pursuant to Cal. Civ. Code§ 52.5(a). Plaintiff and the putative
 9    subclass members therefore also seek'pre-and-post-judgment interest and attorneys' fees and
 10   costs as allowed by statute and as they are entitled to recover pursuant Cal. Civ. Code§ 52.5(s).
 II                                           PRAYER FOR RELIEF
 12          WHEREFORE, Plaintiff prays for the following relief for himself and on behalf of the
 13   Class and Subclass:
 14          A.         That the Court certify the Class and Subclass and appoint Plaintiff and his counsel
 15                     to represent the Class and the Subclass pursuant of Code of Civil Procedure
16                      section 382;
17           B.         That the Court find and declare that Defendants acts and practices as alleged

18                      herein are, illegal, unlawful and unfair;

19          c.          That the Court issue an order pennanently enjoining Defendants from engaging in
20                      unlawful employment practices;
21          D.          That the Court issue an order pennanently enjoining Defendants from engaging in
22                      the unlawful and unfair practices pursuant to California Business and Professions

23                      Code section 17203;
24          E.          That the Court award compensatory damages and penalties to Plaintiff and the
25                      Class for violations of the California Labor Code and the San Francisco
26                      Administrative Code and other applicable local minimum wages in an amount
27                      according to proof;
28


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              F.     That the Court order restitution to Plaintiff and the Class pursuant to California

2                    Business and Professions Code section 17203 in an amount according to proof;

3             G.     That Plaintiff and the Class be awarded pre-judgment interest on all sums

4                    collected;

5             H.     That the Court award restitution, damages, treble damages, and punitive damages

6                    to Plaintiff and Subclass Members in an amount to be determined at trial;

7             I.     That the Court grant costs of suit, including reasonable attorneys' fees, costs, and

8                    expenses; and

9                    That the Court grant all such other relief as the Court deems just and proper.

10   Ill
      Dated: November 21, 20 I 7                        Respectfully Submitted,
II

12                                                      Mana Barari
                                                        Carole Vigne
13
                                                        Henry Hewitt
14
                                                        LEGAL AID AT WORK
15
16
17
18
19
                                           DEMANDFORJURYT~
20
              Plaintiff hereby demands a trial by jury of each and every cause of action so triable.
21
22
     Dated: November 21, 2017
23                                                   Mana Barari
                                                     Carole Vigne
24
                                                     Henry Hewitt
25                                                   LEGAL AID AT WORK
26
27
28
                                               By   c#o::fr
                                                  30                                            Case No.:
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